        Case 4:16-cr-00033 Document 19 Filed on 02/04/16 in TXSD Page 1 of 2
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                              February 04, 2016
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § CRIMINAL ACTION NO. 4:16-CR-00033-2
                                            §
MARIA GUADALUPE ORTIZ                       §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(B); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant meets the probable cause standard.          The

findings and conclusions contained in the Pretrial Services Report are adopted. The

Defendant was placed on felony probation in 2011, and was on felony probation when

this offense was committed, reflecting that she is either unwilling or unable to comply

with court-ordered conditions of release. Defendant has performed poorly each time she

was placed on supervision. This order of detention is entered without prejudice to the

Defendant’s right to request a hearing if she is able to produce new evidence unavailable


1/2
      Case 4:16-cr-00033 Document 19 Filed on 02/04/16 in TXSD Page 2 of 2




at the time of her hearing.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 4th day of February, 2016.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




2/2
